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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA

 v.                                                          Case No. 1:21-cr-641-RCL

 MICHAEL KENNETH MEONI,

         Defendant.


                                        MEMORANDUM

        The Amended Judgment and Amended Statement of Reasons just docketed in this case

correct an ambiguity, identified by defense counsel, concerning defendant's restitution obligations.

At the November 16, 2022 sentencing, defense counsel requested that the Court waive imposition

ofrestitution based on defendant's inability to pay. The Court then signed and entered the original

Judgment [62], which did not indicate any sort of waiver and included a restitution order proposed

by the government, as well as the original Statement of Reasons [63], which erroneously indicated

that restitution would not be imposed at all.

       Restitution is mandatory in this case, regardless of ability to pay, pursuant to 18 U.S.C.

§ 2259(b)(4)(B)(i). The Court cannot waive imposition of a penalty that the statute requires.

However, as indicated on the Judgment form, the Court may waive the requirement to pay interest

on the restitution amount, pursuant to 18 U.S.C. § 3612(f)(3)(A). The Amended Judgment and

Amended Statement of Reasons reflect that defendant is ordered to pay the mandatory restitution

amount in full, but that the Court waives the interest requirement due to his inability to pay.



Date: April -1-'-f, 2023
                                                                   Royce C. Lamberth
                                                                   United States District Judge




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